
41 So.3d 366 (2010)
Michael S. RITTER, Petitioner,
v.
Walter A. McNEIL, Secretary, Florida Department of Corrections, Respondent.
No. 1D10-2828.
District Court of Appeal of Florida, First District.
July 23, 2010.
Michael S. Ritter, pro se, Petitioner.
Bill McCollum, Attorney General, Tallahassee, for Respondent.
PER CURIAM.
The petition for writ of mandamus is denied as premature. See Rodriguez v. State, 21 So.3d 826 (Fla. 3d DCA 2009) (table) (denying a petition for writ of mandamus as premature where petitioner's last pleading was delivered to the trial court less than 60 days before).
HAWKES, C.J., and LEWIS, J., concur. BENTON J., would issue an order to show cause.
